









Dismissed and Opinion filed May 16, 2002









Dismissed and Opinion filed May 16, 2002.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-02-00331-CR

____________

&nbsp;

KEITHRON LEONARD JOHNSON, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
337th District Court

Harris
County, Texas

Trial Court Cause
No. 885,355

&nbsp;



&nbsp;

O P I N I
O N

Appellant
entered a plea of guilty to the offense of possession of a controlled
substance, namely, cocaine, weighing more than four grams and less than 200
grams.&nbsp; In accordance with the terms of a
plea bargain agreement with the State, on March 4, 2002, the trial court
sentenced appellant to confinement for ten years in the the Institutional
Division of the Texas Department of Criminal Justice.&nbsp; Because we have no jurisdiction over this
appeal, we dismiss.&nbsp; 








To
invoke an appellate court=s jurisdiction over an appeal, an appellant must give timely
and proper notice of appeal.&nbsp; White v.
State, 61 S.W.3d 424, 428 (Tex. Crim. App. 2001).&nbsp; Appellant filed a general notice of appeal
that did not comply with the requirements of Rule 25.2(b)(3) of the Texas Rules
of Appellate Procedure.&nbsp; See Tex. R. App. P. 25.2(b)(3).&nbsp; Rule 25.2(b)(3) provides that when an appeal
is from a judgment rendered on a defendant=s plea of guilty or nolo contendere
and the punishment assessed does not exceed the punishment recommended by the
State and agreed to by the defendant, the notice of appeal must:&nbsp; (1) specify that the appeal is for a
jurisdictional defect; (2) specify that the substance of the appeal was raised
by written motion and ruled on before trial; or (3) state that the trial court
granted permission to appeal.&nbsp; Id.&nbsp; The time for filing a proper notice of appeal
has expired; thus, appellant may not file an amended notice of appeal to
correct jurisdictional defects.&nbsp; State
v. Riewe, 13 S.W.3d 408, 413-14 (Tex. Crim. App. 2000).&nbsp; Because appellant=s notice of appeal did not comply
with the requirements of Rule 25.2(b)(3), we are without jurisdiction to
consider any of appellant=s issues, including the voluntariness of the plea.&nbsp; See Cooper v. State, 45 S.W.2d 77, 83
(Tex. Crim. App. 2001) (holding that appellant who files general notice of
appeal may not appeal voluntariness of negotiated plea).&nbsp; 

Moreover,
as part of the plea bargain agreement, appellant signed a written waiver of his
right to appeal.&nbsp; The trial court
followed the plea bargain agreement in assessing punishment.&nbsp; Despite having waived the right to appeal,
appellant filed a notice of appeal.&nbsp;
Appellant chose to enter into an agreement that included a waiver of the
right to appeal.&nbsp; Appellant was informed
of his right to appeal, knew with certainty the punishment he would receive,
and that he could withdraw his plea if the trial court did not act in
accordance with the plea agreement.&nbsp; As
appellant was fully aware of the consequences when he waived his right to
appeal, it is Anot unfair to expect him to live with
those consequences now.@&nbsp; Alzarka v. State,
60 S.W.3d 203, 206 (Tex. App.BHouston [14th Dist.] July 26, 2001, pet. granted) (quoting
Mabry v. Johnson, 467 U.S. 504, 104 S.Ct. 2543, 2547-48, 81 L.Ed.2d 437
(1984)).&nbsp; See also Blanco v. State,
18 S.W.3d 218, 219-20 (Tex. Crim. App. 2000); Buck v. State, 45 S.W.3d
275, 278 (Tex. App.CHouston [1st Dist.] 2001, no pet.).&nbsp; 








Accordingly,
we dismiss the appeal for want of jurisdiction.&nbsp;


&nbsp;

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Judgment rendered and Opinion filed May 16, 2002.

Panel consists of Chief Justice Brister and Justices
Anderson and Frost.

Do Not Publish C Tex. R. App. P. 47.3(b).

&nbsp;





